                       IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

JASON WILLIAMS,

          Plaintiff,                                 Case No. 5:19-cv-00475-BO
vs.
                                                           ORDER
AT&T MOBILITY, LLC,

          Defendant.


          This matter is before the Court on the Motion to Withdraw as Counsel filed

by Phillip A. Harris, Jr. FOR GOOD CAUSE SHOWN, it is ordered that the Motion

to Withdraw as Counsel is hereby GRANTED, and that Phillip A. Harris, Jr. is

discharged from any further responsibility for the representation of Defendant

AT&T Mobility, LLC in this action.

      Joseph S. Dowdy, Michael Breslin, and Adam P. Wiley of the law firm

Kilpatrick Townsend & Stockton LLP shall continue to represent Defendant in this

action.

          SO ORDERED. This the    ll             •
                                        day of (["           , 2021.




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                                               TERRENCE w. BOYLE
                                               U.S. DISTRICT JUDGE




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